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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

   MICHAEL T. TORRONE, JR.,                        )
                                                   )
                  Plaintiff,                       )
                                                   )
   v.                                              )           Case No. 17-cv-534-CVE-FHM
                                                   )
   SAFECO INSURANCE COMPANY                        )
   OF AMERICA, a Washington corporation            )
                                                   )
                  Defendant.                       )

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), Michael T. Torrone, Jr. ("Plaintiff"), by and

   through his counsel of record, Ryan H. Olsen of Logan & Lowry, LLP, and Defendant Safeco

   Insurance Company of America, by and through its counsel of record, William W. O'Connor and

   Margo E. Shipley of Hall, Estill, Hardwick, Golden, Gable & Nelson, P.C., hereby stipulate to a

   dismissal with prejudice of all of Plaintiff's claims and causes of action in the above-styled and

   numbered case, each party to bear their own attorneys' fees and costs.




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        Dated this 8th day of May, 2018.

                                             Respectfully submitted,

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                                             By:       /s/ Ryan H. Olsen___________________
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                                             - and -

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                                             By:       /s/ Margo E. Shipley*
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        Signed by filing attorney with permission of Defendant’s attorney.



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                                 CERTIFICATE OF SERVICE

           I hereby certify that on May 8, 2018, I electronically transmitted the foregoing
   document to the Clerk of the Court using the ECF filing system and the following ECF
   registrants:

          William W. O'Connor, OBA #13200
          Margo Elizabeth Shipley, OBA # 32118


                                              /s/ Ryan H. Olsen
                                             Ryan H. Olsen




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